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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND

CHRISTINE DE LEVA,                              *
  Plaintiff,
                                                *
   v.                                                       Case No. DKC-21-1820
                                                *
LOWE’S COMPANIES, INC., et al.,
  Defendants.                                   *

                                           ORDER

        Upon consideration of the motion for appointment of counsel filed by Christine De Leva,

and pursuant to the Court’s requirement that members of the bar make themselves available from

time to time to act as pro bono counsel, it is this 23rd day of February, 2022, HEREBY

ORDERED:

        1. Michal Shinnar, of the firm Joseph, Greenwald & Laake, P.A., 6404 Ivy Lane, Suite

400 ,Greenbelt, MD 20770, 240-553-1187, is APPOINTED to represent Plaintiff in the above-

captioned civil action for the limited purpose of representation at settlement conference, which

will be scheduled by separate Order, without compensation, except as allowed by any applicable

statute and except that allowable expenses may be reimbursed in accordance with Appendix C to

the Local Rules. Expenses are limited to a total of $10,000 per case unless otherwise requested by

counsel with advance approval by the presiding judge and the Court’s Attorney Admissions Fund

Committee. Counsel may enlist the assistance of other members of the firm to aid in this

representation, and fees will be waived for any co-counsel admitted pro hac vice.

        2. Said attorney may file a Motion for Reconsideration of this appointment within fourteen

(14) days of this Order and show good cause why he, or another attorney at the firm, is unable to

accept the appointment. Such motion shall be filed electronically with the undersigned judge, but
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may, at the option of the attorney, be filed using the “ex parte” function in CM/ECF (see Ex Parte

Matters in the Electronic Filing Requirements and Procedures for Civil Cases).

       3. In order to assist in performing a conflict check, the Clerk shall provide counsel a copy

of the docket sheet and the initial complaint, along with the form to Request Reimbursement of

Expenses.

       4. The Clerk shall enter the appearance of counsel.


                                                       __________________________________
                                                       Timothy J. Sullivan
                                                       United States Magistrate Judge
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                               Instructions for Pro Bono Counsel

1. Documents previously filed in this case are available electronically through PACER.
   Counsel is eligible to obtain an exempt PACER account for use on this case. To register for
   a PACER account, go to www.pacer.uscourts.gov . A copy of this order must be faxed to
   PACER at 210-301-6441 to establish fee-exemption. Unless otherwise ordered by the Court,
   this fee exemption is valid for one year from the date of this order. Counsel should request
   an extension of this order at least ten days before its expiration if they wish to continue the
   fee exemption.

2. If you are not a CM/ECF user with this court, you must complete an on-line registration
   form. Go to the Court’s website, www.mdd.uscourts.gov , from the CM/ECF tab, select
   CM.ECF Registration – Attorney Registration Form, complete the form and Submit.
   Information about electronic filing procedures and requirements is available on the website.
   Please note that if this case is subject to electronic filing, any documents submitted for filing
   in paper format may be returned to you. The Court does not mail paper copies of orders and
   other documents that are filed electronically.

3. Requests for Reimbursement of Expenses - Upon completion of the form, file the request
   electronically in CM/ECF using the Request by Court-Appointed Counsel for
   Reimbursement of Expenses Event under Other Filings/Other Documents.

4. If this appointment is to represent a litigant currently housed in a prison facility, please be
   sure to include the inmate’s identification number on the envelope to ensure any mailings are
   delivered to the inmate.
